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THE DISCLOSURE STATEMENT RELATED TO THIS PLAN HAS NOT BEEN
APPROVED BY THE BANKRUPTCY COURT AND, UNTIL APPROVED, THIS PLAN
CANNOT BE, AND IS NOT BEING, USED FOR SOLICITATION PURPOSES.


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                             Chapter 11

ON MARINE SERVICES COMPANY LLC,                    Case No. 20-20007-CMB

                       Debtor.




         PLAN OF LIQUIDATION OF ON MARINE SERVICES COMPANY LLC
               UNDER CHAPTER 11 OF THE BANKRUPTCY CODE




Dated: January 2, 2020



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This Plan of Liquidation provides for an “Insurance Policy Injunction” pursuant to sections
105 and 363 of the Bankruptcy Code. For a description of the causes of action to be enjoined
and the identities of the entities that would be subject to the injunction, see Section 10.2 of this
Plan.
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SCHEDULE 1: PROTECTED PARTIES

EXHIBIT A: LIQUIDATING TRUST AGREEMENT

EXHIBIT B: LIQUIDATING TRUST DISTRIBUTION PROCEDURES




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                                        INTRODUCTION

       ON Marine Services Company LLC, the debtor and debtor-in-possession in the above-
captioned chapter 11 case, hereby proposes the following plan of liquidation pursuant to section
1121(a) of title 11 of the United States Code.

                             SECTION 1
 DEFINED TERMS, RULES OF INTERPRETATION, AND COMPUTATION OF TIME

A.     Defined Terms

        As used in the Plan, capitalized terms have the meanings set forth below. Any term that
is not otherwise defined herein, but that is used in the Bankruptcy Code or the Bankruptcy Rules,
shall have the meaning given to that term in the Bankruptcy Code or the Bankruptcy Rules, as
applicable.

               Administrative Expense Claim means a Claim for a cost or expense of
administration of the Estate under sections 503(b), 507(a)(1), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including: (a) any actual and necessary cost and expense of preserving the
Estate or operating the Debtor’s business incurred after the Petition Date and through the
Effective Date; (b) any indebtedness or obligations incurred or assumed by the Debtor after the
Petition Date and through the Effective Date; (c) any Allowed compensation for Professional
services rendered, and Allowed reimbursement of expenses incurred, by a Professional retained
by order of the Bankruptcy Court or otherwise Allowed pursuant to section 503(b) of the
Bankruptcy Code; and (d) all fees due and payable pursuant to section 1930 of title 28 of the
United States Code.

               Administrative Expense Claim Bar Datemeans the first Business Day that is
fourteen (14) calendar days after the Effective Date.

                 Affiliatemeans an affiliate, as defined in section 101(2) of the Bankruptcy Code,
of the Debtor.

               Allowedmeans: (I) with respect to any Non-Asbestos Claim or Interest, such
Non-Asbestos Claim or Interest or portion thereof against or in the Debtor: (a) that has been
listed by the Debtor in the Schedules as liquidated in amount and not disputed or contingent and
for which no contrary Proof of Claim has been filed; (b) as to which the deadline for objecting or
seeking estimation has passed, and no objection or request for estimation has been filed, or the
Debtor otherwise has assented to the validity thereof; (c) as to which any objection or request for
estimation that has been filed has been settled, waived, withdrawn, overruled, or denied by a
Final Order; or (d) that is allowed pursuant to the terms of (i) a Final Order, (ii) an agreement by
and between the holder of such Claim or Interest and the Debtor, or (iii) the Plan; and (II) with
respect to any Asbestos Claim, such Asbestos Claim or portion thereof that is liquidated and
allowed pursuant to the Liquidating Trust Agreement and the Liquidating Trust Distribution
Procedures, or, if applicable, pursuant to a Final Order of the Bankruptcy Court.




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               Approved Insurance Settlement Agreement means an Insurance Settlement
Agreement that has been approved by a Final Order, regardless of whether such Final Order is
entered before or after the Confirmation Date or before or after the Effective Date.

                Asbestos Claim means each of the following: (a) an ON Marine Asbestos Claim;
(b) a Derivative Liability Asbestos Claim; (c) an Indirect Asbestos Claim; (d) a Direct Action
Asbestos Claim; and (e) a Jones Act Claim. Notwithstanding anything to the contrary contained
in the definitions of any of the foregoing terms or otherwise in the Plan, the term Asbestos Claim
shall not include (i) any “demand” as such term is defined in section 524(g)(5) of the Bankruptcy
Code or (ii) any Workers’ Compensation Claim.

                 Asbestos Insurance Actionmeans, solely as related to an Asbestos Claim, any
claim, cause of action, or right of the Debtor against any Asbestos Insurance Entity related to any
Asbestos Insurance Policy, including any claim, cause of action, or right arising from, under or
related to: (a) any such Asbestos Insurance Entity’s failure to provide coverage or pay amounts
billed to it for Asbestos Claims, whether prior to or after the Petition Date; (b) the refusal of any
Asbestos Insurance Entity to pay any obligations on, or compromise and settle, any Asbestos
Claim under or pursuant to any Asbestos Insurance Policy; (c) the interpretation or enforcement
of the terms of any Asbestos Insurance Policy issued by an Asbestos Insurance Entity; or (d) any
conduct of an Asbestos Insurance Entity constituting “bad faith” or other wrongful conduct
under applicable law with respect to any Asbestos Insurance Policy.

                Asbestos Insurance Entity means any Entity, including any underwriter, insurer,
insurance company, broker, protection and indemnity club, or guaranty association, that has
issued, or that has any actual or potential liabilities, duties, or obligations under or with respect to
any Asbestos Insurance Policy.

              Asbestos Insurance Policymeans any Insurance Policy or portion thereof that
provides or may provide coverage to the Debtor for Asbestos Claims.

                 Asbestos Insurance Rights means, solely with respect to an Asbestos Claim, any
and all rights, titles, privileges, interests, claims, demands, or entitlements of the Debtor to any
insurance coverage, defense, indemnity, proceeds, payments, escrowed funds, initial or
supplemental dividends, scheme payments, supplemental scheme payments, causes of action,
and choses in action with respect to any Asbestos Insurance Policy, including all Asbestos
Insurance Actions, whether now existing or hereafter arising, accrued or unaccrued, liquidated or
unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent, including:

                (a)     any and all rights of the Debtor to pursue or receive payment,
reimbursement, or proceeds under any Asbestos Insurance Policy, whether for indemnity,
liability, defense costs, or otherwise;

             (b)    any and all rights of the Debtor to pursue or receive payment or proceeds
under any Approved Insurance Settlement Agreement;

              (c)     any and all rights of the Debtor to pursue or receive payments from any
insolvent Asbestos Insurance Entity, whether in receivership, liquidation, rehabilitation, run-off,



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or scheme of arrangement, or any other form of proceeding, or from any insolvent insurer’s
estate;

              (d)     any and all rights of the Debtor to pursue or receive payments with respect
to Asbestos Claims from any insurance guaranty association;

               (e)    any and all rights of the Debtor to pursue or receive payment pursuant to
any exception to a workers’ compensation exclusion in any Asbestos Insurance Policy; and

               (f)    any other rights arising under any Asbestos Insurance Policy and/or
applicable law that may be necessary or useful for recovery of insurance proceeds for any
Asbestos Claim.

        Other than the rights identified in part (e) immediately above, Asbestos Insurance Rights
shall not include any rights or obligations under any Insurance Policy, settlement agreement, or
coverage-in-place agreement to which any Asbestos Insurance Entity is a party to the extent, but
only to the extent, that such rights or obligations pertain solely to coverage for Workers’
Compensation Claims.

                Avoidance Actionsmeans any avoidance or recovery action under any of sections
502(d), 542, 544, 545, 547, 548, 549, 550, 551, and 553 of the Bankruptcy Code, or under
related state or federal statutes and common law, whether or not litigation has been commenced
with respect to such Cause of Action as of the Effective Date.

               Ballot means a ballot providing for the acceptance or rejection of the Plan.

               Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. § 101 et
seq.

               Bankruptcy Court means the United States Bankruptcy Court for the Western
District of Pennsylvania, or such other court having jurisdiction over the Chapter 11 Case or any
proceeding within, or appeal of an order entered in, the Chapter 11 Case.

               Bankruptcy Rules means, collectively: (a) the Federal Rules of Bankruptcy
Procedure as promulgated by the United States Supreme Court under section 2075 of title 28 of
the United States Code; (b) the Federal Rules of Civil Procedure, as applicable to the Chapter 11
Case or any proceedings therein; and (c) the local rules of the Bankruptcy Court, all as amended
from time to time and applicable to the Chapter 11 Case.

               Business Day means any day, other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

               Cash means legal tender of the United States of America and equivalents thereof.

               Cause of Actionmeans any action, including any cause of action, liability,
obligation, account, controversy, right to legal remedy, right to equitable remedy, right to
payment, suit, debt, sum of money, damage, judgment, or claim whatsoever, whether known or
unknown, now or in the future, reduced to judgment, not reduced to judgment, liquidated,


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unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured, whether asserted or assertable, directly or derivatively, in law, equity or otherwise,
which may be brought by or on behalf of the Debtor and/or the Estate, arising under any
provision of the Bankruptcy Code or other applicable law or regulation or similar governmental
pronouncement.

              Chapter 11 Case means the Debtor’s case under chapter 11 of the Bankruptcy
Code, captioned In re ON Marine Services Company LLC, Case No. 20-20007-CMB, pending in
the Bankruptcy Court.

               Claim means a claim, as defined in section 101(5) of the Bankruptcy Code.

              Claims Agent means the claims, noticing, and balloting agent in the Chapter 11
Case, Epiq Corporate Restructuring, LLC, 10300 SW Allen Blvd., Beaverton, OR 97005.

              Claims Register means the official register of Claims maintained by the Clerk of
the Bankruptcy Court and/or the Claims Agent in the Chapter 11 Case.

               Class means a category of Claims or Interests established under Section 3.1
pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

               Committee means the Official Committee of Asbestos Personal Injury Claimants
appointed by the Office of the United States Trustee in the Chapter 11 Case.

             Confirmation Date means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Case.

               Confirmation Hearing means the hearing to be held by the Bankruptcy Court to
consider confirmation of the Plan under section 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

               Confirmation Order means the order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code and granting other related relief.

                Cure means the payment of Cash by the Debtor, or the distribution of other
property (as the parties may agree or the Bankruptcy Court may order), as necessary to: (a) cure
a default by the Debtor under an Executory Contract or Unexpired Lease; and (b) permit the
Debtor to assume such Executory Contract or Unexpired Lease under section 365 of the
Bankruptcy Code.

               Debtormeans ON Marine Services Company LLC.

                Delaware Trustee means the Entity appointed in accordance with Section 8.1(g)
to serve as the “Delaware Trustee” in accordance with the terms of the Plan and the Liquidating
Trust Agreement.

               Derivative Liability Asbestos Claim means any Claim against a Protected Party or
any current or former Representative or Shareholder of the Debtor based upon a legal or


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equitable theory of liability in the nature of veil piercing, alter ego, successor liability, fraudulent
transfer, or conspiracy, upon which a Protected Party or any current or former Representative or
Shareholder of the Debtor is liable, or is allegedly liable, arising out of, resulting from, or
attributable to, directly or indirectly, death, bodily injury, sickness, disease, or other personal
injury, physical, emotional, or otherwise, to Persons, caused, or allegedly caused, directly or
indirectly, by the presence of, or exposure to, asbestos, asbestos-containing products, or
asbestos-containing materials, to the extent arising, directly or indirectly, from acts, omissions,
business, or operations of the Debtor, including all related claims, debts, obligations, or liabilities
for compensatory damages (such as loss of consortium, medical monitoring, personal or bodily
injury, wrongful death, survivorship, proximate, consequential, general, and special damages).
For purposes of this definition, “veil piercing, alter ego, successor liability, fraudulent transfer, or
conspiracy” claims shall include, without limitation, fraudulent transfer or fraudulent conveyance
claims under applicable state or federal law, denuding the corporation claims, single business
enterprise claims, claims that the Debtor was the predecessor, mere instrumentality, agent, or
alter ego of such a Protected Party or any current or former Representative or Shareholder of the
Debtor, trust fund claims, claims that such a Protected Party or any current or former
Representative or Shareholder of the Debtor conspired with the Debtor, and any causes of action
against a Protected Party or any current or former Representative or Shareholder of the Debtor
that belong to the Debtor or the Estate, whether or not included in the foregoing list.

                 Direct Action Asbestos Claim means any Claim by any Person other than the
Debtor directly against any Settling Asbestos Insurance Entity under any insurance policy that
arises from the activities or products of the Debtor, or any insurance policy that is, or may in the
future be, asserted to provide coverage for any of the aforementioned Claims, whether arising by
contract, in tort, or under the laws of any jurisdiction, including any statute that gives a third
party a direct cause of action against an insurer.

               Disallowed means, with respect to any Non-Asbestos Claim or Interest, a Non-
Asbestos Claim or Interest or any portion thereof that is not Allowed and (a) has been disallowed
by a Final Order, (b) is listed in the Schedules as zero or as contingent, disputed, or unliquidated
and as to which no Proof of Claim or request for payment of an Administrative Expense Claim
has been timely filed or deemed timely filed with the Bankruptcy Court, (c) is not listed in the
Schedules and as to which no Proof of Claim or request for payment of an Administrative
Expense Claim has been timely filed or deemed timely filed with the Bankruptcy Court, (d) has
been withdrawn by agreement of the Debtor and the holder thereof, or (e) has been withdrawn by
the holder thereof.

               Disclosure Statement means that certain disclosure statement pertaining to the
Plan, including, without limitation, all exhibits and schedules thereto, as amended, modified, or
supplemented from time to time.

               Disputed means, with respect to any Non-Asbestos Claim or Interest, all or any
portion of such Claim or Interest that is neither Allowed nor Disallowed.

              Distributionmeans a payment under the Plan to holders of Allowed Non-Asbestos
Claims or other eligible Entities on account of Allowed Non-Asbestos Claims.



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                Distribution Record Date means the record date for purposes of making
Distributions under the Plan on account of Allowed Non-Asbestos Claims, which date shall be
the date of the commencement of the Confirmation Hearing.

               Effective Date means the first Business Day upon which each condition set forth
in Section 11.2 has been satisfied or duly waived pursuant to Section 11.3.

                 Encumbrance means, with respect to any property (whether real or personal, or
tangible or intangible), any mortgage, Lien, pledge, charge, security interest, assignment, or
encumbrance of any kind or nature in respect of such property (including any conditional sale or
other title retention agreement, any security agreement, and the filing of, or agreement to give,
any financing statement under the Uniform Commercial Code or comparable law of any
jurisdiction) to secure payment of a debt or performance of an obligation.

                Entity means any Person or organization created by law, including, without
limitation, any individual, company, corporation, limited liability company, partnership,
association, joint stock company, joint venture, estate, trust, unincorporated organization, or
government or any political subdivision thereof.

             Estate means the estate of the Debtor created pursuant to section 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Case.

                Excess Cash means all Cash held by the Debtor in excess of that necessary to
satisfy all Allowed Non-Asbestos Claims and Post-Confirmation Expenses in accordance with
the Plan.

              Executory Contract or Unexpired Lease means any executory contract or
unexpired lease of the Debtor that is subject to treatment under section 365 of the Bankruptcy
Code.

              Exculpated Parties means, collectively, (a) the Debtor, (b) members of the
Committee, (c) each Settling Asbestos Insurance Entity, and (e) any Representative of the
foregoing.

               Final Decree means the decree contemplated under Bankruptcy Rule 3022 that
closes this Chapter 11 Case.

                Final Order means a judgment or an order, as the case may be, as to which the
time to appeal, petition for certiorari, or move for reargument or rehearing has expired and as to
which no appeal, petition for certiorari, or other proceedings for reargument or rehearing shall
then be pending; provided, however, that if an appeal, writ of certiorari, reargument, or rehearing
thereof has been filed or sought: (a)(i) such judgment or order shall have been affirmed by the
highest court to which such judgment or order was appealed; or (ii) certiorari shall have been
denied or reargument or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari, or move for reargument or
rehearing shall have expired; or (b) such appeal, writ of certiorari, or request for reargument or
rehearing shall have been dismissed with prejudice by the filing or seeking party.



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              General Unsecured Claim means a Claim against the Debtor that is not an
Administrative Expense Claim, a Priority Tax Claim, a Priority Non-Tax Claim, a Secured
Claim, or an Asbestos Claim.

               General Unsecured Recovery Pool means Cash in the amount of $200,000.

                Impaired means, with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

                 Indirect Asbestos Claim means those cross-claims, contribution claims,
subrogation claims, reimbursement claims, indemnity claims, and other similar derivative
Claims, or allegations against the Debtor, a Protected Party, or any current or former
Representative or Shareholder of the Debtor, whether or not any such Claim, debt, liability, or
obligation is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured or unsecured, whether or not the facts
of or legal bases therefore are known or unknown, and whether in the nature of or sounding in
tort, or under contract, warranty, guarantee, contribution, joint and several liability, subrogation,
reimbursement, or indemnity, or any other theory of law, equity, or admiralty for, arising out of,
resulting from, or attributable to, directly or indirectly, death, bodily injury, sickness, disease, or
other personal or emotional injuries to Persons caused, or allegedly caused, directly or indirectly,
by the presence of, or exposure to asbestos, asbestos-containing products, or asbestos-containing
materials engineered, designed, marketed, manufactured, fabricated, constructed, sold, supplied,
produced, installed, maintained, serviced, specified, selected, repaired, removed, replaced,
released, distributed, or in any way used by the Debtor or any Entity for whose products or
operations the Debtor has liability or is alleged to have liability, but only to the extent arising,
directly or indirectly, from acts, omissions, business, or operations of the Debtor (including the
acts, omissions, business, or operations of any other Entity for whose products or operations the
Debtor has liability, but only to the extent of the Debtor’s liability for such acts, omissions,
business, or operations), including claims, debts, obligations, or liabilities for compensatory
damages (such as loss of consortium, medical monitoring, personal or bodily injury, wrongful
death, survivorship, proximate, consequential, general, and special damages). Notwithstanding
the foregoing, any such Claim, allegation, debt, liability, or obligation shall be an Indirect
Asbestos Claim only to the extent of the Debtor’s liability for that Claim, allegation, debt,
liability, or obligation.

                Insurance Policy means an insurance policy (including any comprehensive
general liability policy, general liability policy, excess liability policy, umbrella liability policy,
automobile policy, first-party property policy, wrap-up policy, site-specific policy, or project-
specific policy, whether such policy is primary, umbrella, excess, or otherwise, whether known
or unknown, whether domestic or foreign, and regardless of the policy territory covered, whether
issued to the Debtor or otherwise) that was issued or allegedly issued to any Person prior to the
Petition Date under which the Debtor is or allegedly may be insured or entitled to any rights or
benefits. The term “Insurance Policy” also includes any rights to indemnity, insurance,
proceeds, or any rights of recovery for any Jones Act Claim under the rules of any agreement
with any protection and indemnity club. With respect to an Insurance Policy issued to Persons
other than the Debtor under which the Debtor has, or claims to have, the right to insurance
coverage, the term “Insurance Policy” means only that insurance coverage afforded by such


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Insurance Policy to the Debtor. The term “Insurance Policy” does not include workers
compensation policies, if any.

              Insurance Policy Injunction means the injunction pursuant to sections 105(a) and
363 of the Bankruptcy Code described more fully in Section 10.2.

               Insurance Settlement Agreements means (i) the Settlement Agreement and
Release, dated December 31, 2019, between the Debtor and Fireman’s Fund Insurance Company
and Fireman’s Fund Insurance Company of Ohio, and (ii) the Settlement Agreement and
Release, dated December 31, 2019, between the Debtor and Federal Insurance Company.

               Interest means any right, title, and ownership interest in the Debtor, including,
without limitation, all treasury stock.

               Internal Revenue Code means title 26 of the United States Code, 26 U.S.C.
§ 1 et seq.

                Jones Act Claims means asbestos-related claims arising under the Merchant
Marine Act of 1920, 46 U.S.C. § 30104, in which claimants seek money damages for personal
injury arising from claimants’ exposure to asbestos aboard lake vessels owned and operated by
the Debtor and/or its predecessor entities.

              Lien means any charge against or interest in property to secure payment of a debt
or performance of an obligation.

                Liquidating Trust means the liquidating trust that is to be established in
accordance with the Plan, the Liquidating Trust Agreement, and the Confirmation Order, for the
purpose of reviewing, resolving, and, if appropriate, paying Asbestos Claims, which trust shall
be treated as a “qualified settlement fund” under section 468B of the Internal Revenue Code.

               Liquidating Trust Advisory Committee means the advisory committee established
pursuant to the terms of the Plan and the Liquidating Trust Agreement for the Liquidating Trust.

               Liquidating Trust Agreement means the agreement, to be dated as of the
Effective Date, by and among the Debtor, the Committee, the Liquidating Trustee, the Delaware
Trustee, and the Liquidating Trust Advisory Committee, in substantially the form attached hereto
as Exhibit A, as it may be modified from time to time.

              Liquidating Trust Assets means, collectively, (a) the Asbestos Insurance Rights,
and (b) any Excess Cash.

               Liquidating Trust Distribution Procedures means the trust distribution
procedures for the Liquidating Trust, in substantially the form attached hereto as Exhibit B, and
such additional procedures as subsequently may be adopted by the Liquidating Trust pursuant to
the terms of the Liquidating Trust Agreement, which shall provide for the resolution, liquidation,
and satisfaction of Asbestos Claims.




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                Liquidating Trust Documents means, collectively: (a) the Liquidating Trust
Agreement; (b) the Liquidating Trust Distribution Procedures; and (c) any other agreements,
instruments, and documents governing the establishment and administration of the Liquidating
Trust, as the same may be amended or modified from time to time, in accordance with the terms
thereof.

               Liquidating Trust Expense means any of the liabilities, costs, or expenses
incurred by the Liquidating Trust (other than liabilities to holders of Asbestos Claims) in
carrying out the terms of the Liquidating Trust Agreement.

                Liquidating Trustee means the Person appointed in accordance with Section
8.1(f) to serve as the trustee for the Liquidating Trust in accordance with the terms of the Plan
and the Liquidating Trust Agreement.

               Non-Asbestos Claim means any Claim against the Debtor that is not an Asbestos
Claim.

                Non-Settling Asbestos Insurance Entity means an Asbestos Insurance Entity that
is not a Settling Asbestos Insurance Entity.

                 ON Marine Asbestos Claim means any Claim (except a Derivative Liability
Asbestos Claim or an Indirect Asbestos Claim) or allegation or portion thereof against, or any
debt, liability, or obligation of, the Debtor, a Protected Party, or any current or former
Representative or Shareholder of the Debtor, whether now existing or hereafter arising, whether
in the nature of or sounding in tort, or under contract, warranty, or any other theory of law,
equity, or admiralty for, arising out of, resulting from, or attributable to, directly or indirectly,
death, bodily injury, sickness, disease, or any other actual or alleged personal injury, physical,
emotional or otherwise, to Persons, caused, or allegedly caused, directly or indirectly, by the
presence of, or exposure to asbestos, asbestos-containing products, or asbestos-containing
materials engineered, designed, marketed, manufactured, fabricated, constructed, sold, supplied,
produced, installed, maintained, serviced, specified, selected, repaired, removed, replaced,
released, distributed, or in any other way used by the Debtor or any other Entity for whose
products or operations the Debtor has liability or is alleged to have liability, including, but not
limited to the presence of asbestos on any vessel owned or operated by the Debtor, but only to
the extent arising, directly or indirectly, from acts, omissions, business, or operations of the
Debtor (including the acts, omissions, business, or operations of any other Entity for whose
products or operations the Debtor has liability, but only to the extent of the Debtor’s liability for
such acts, omissions, business, or operations), including all related claims, debts, obligations, or
liabilities for compensatory damages (such as loss of consortium, medical monitoring, personal
or bodily injury, wrongful death, survivorship, proximate, consequential, general, and special
damages). Notwithstanding the foregoing, any such Claim, allegation, debt, liability, or
obligation shall be a ON Marine Asbestos Claim only to the extent of the Debtor’s liability for
that Claim, allegation, debt, liability, or obligation.

               Person means person as defined in section 101(41) of the Bankruptcy Code.

               Petition Date means January 2, 2020.



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               Plan means this plan of reorganization under chapter 11 of the Bankruptcy Code,
including the exhibits and schedules hereto, all as may be amended, supplemented, or modified
from time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the terms
hereof.

                Plan Documents means, collectively, (a) the Plan, (b) the Disclosure Statement,
(c) the Liquidating Trust Documents, (d) the Plan Supplement, (e) all of the exhibits and
schedules attached to any of the foregoing, and (g) any other document necessary to implement
the Plan, as the same may be amended, modified, or supplemented.

                Plan Supplement means the compilation of documents (or forms or summary of
material terms thereof), schedules, and exhibits to the Plan (in each case, as may be altered,
amended, modified, or supplemented from time to time in accordance with the terms hereof and
in accordance with the Bankruptcy Code and the Bankruptcy Rules), if any, to be filed no later
than five (5) calendar days before the Voting Deadline or such later date as the Bankruptcy Court
may approve.

               Post-Confirmation Expense means any fees, costs, and expenses, including,
without limitation, United States Trustee fees, the Liquidating Trustee fees, attorneys’ fees, other
Professionals’ fees, and any taxes imposed upon the Liquidating Trust or in respect of the Trust
Assets necessary to complete the liquidation and winding up of the Debtor or its Estate or for the
formation of the Liquidating Trust after the Confirmation Date.

               Priority Non-Tax Claim means any Claim entitled to priority in right of payment
under section 507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a
Priority Tax Claim.

               Priority Tax Claim means any Claim entitled to priority in payment as specified
in section 507(a)(8) of the Bankruptcy Code.

               Professional means a Person (a) employed in the Chapter 11 Case pursuant to
sections 327, 328, 363, or 1103 of the Bankruptcy Code or otherwise, or (b) seeking or awarded
compensation or reimbursement of expenses in connection with the Chapter 11 Case pursuant to
section 503(b)(4) of the Bankruptcy Code.

               Proof of Claim means any proof of claim or interest filed with the Bankruptcy
Court or the Claims Agent pursuant to section 501 of the Bankruptcy Code and Bankruptcy Rule
3001 or 3002 that asserts a Claim against or Interest in the Debtor.

               Pro Rata means the proportion that the face amount of a Claim in a particular
Class or Classes bears to the aggregate face amount of all Claims (including Disputed Claims,
but excluding Disallowed Claims) in such Class or Classes, unless this Plan provides otherwise.

               Protected Party means each of the Entities identified on Schedule 1 and each
other Entity that, by virtue of its relationship to a Protected Party identified on Schedule 1, is
required by the terms of an Approved Insurance Settlement Agreement to receive the benefit of
the Insurance Policy Injunction.



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               Representative means, with respect to any specified Person, any current or former
member, officer, director, employee, agent, Professional, attorney, accountant, financial advisor,
expert, consultant, or other representative.

               Schedules means the schedules of assets and liabilities filed by the Debtor, as
required by section 521 of the Bankruptcy Code and Bankruptcy Rule 1007, including any
supplements or amendments thereto through the Confirmation Date.

                Secured Claim means a Claim against the Debtor that is secured by a valid,
perfected, and enforceable Lien on, or security interest in, property of the Debtor, or that has the
benefit of rights of setoff under section 553 of the Bankruptcy Code, but only to the extent of the
value of the holder’s interest in the Debtor’s interest in such property, or to the extent of the
amount subject to setoff, the value of which shall be determined as provided in section 506 of the
Bankruptcy Code.

               Settled Asbestos Insurance Policy means any Asbestos Insurance Policy that the
Debtor has sold to a Settling Asbestos Insurance Entity under the terms of an Approved
Insurance Settlement Agreement pursuant to section 363(f) of the Bankruptcy Code.

               Settling Asbestos Insurance Entity means any Asbestos Insurance Entity that is a
party to an Approved Insurance Settlement Agreement and any Person that receives a release
under such an Approved Insurance Settlement Agreement.

               Shareholder means an owner of an Interest.

               Unimpaired means, with respect to a Class of Claims or Interests, a Class of
Claims or Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy
Code.

                Voting Deadline means the deadline established by the Bankruptcy Court for
holders of eligible Claims and Interests to vote to accept or reject the Plan.

                Workers’ Compensation Claim means any Claim (a) for benefits under a
government-mandated workers’ compensation system, which a past, present, or future employee
of the Debtor or any of its predecessors is receiving, or may in the future have a right to receive;
or (b) for reimbursement, contribution, subrogation, or indemnity brought by any Entity as a
result of payments made to or for the benefit of such employees under such a system and the fees
and expenses incurred under any insurance policies or laws or regulations covering such
employee claims.

B.     Rules of Interpretation

        Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended, waived, or modified
from time to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of
similar import refer to the Plan as a whole and not to any particular section, subsection, or clause
contained herein. The headings in the Plan are for convenience of reference only and shall not
limit or otherwise affect the provisions hereof. For purposes herein: (a) in the appropriate


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context, each term, whether stated in the singular or the plural, shall include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (b) any reference herein to a contract, lease,
instrument, release, or other agreement or document being in a particular form or on particular
terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; and (c) unless otherwise noted above, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply.

                                        SECTION 2
                                   UNCLASSIFIED CLAIMS

               Unclassified Claims.

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims and Priority Tax Claims have not been classified for purposes of voting or receiving
Distributions. Rather, all such Claims are treated separately as unclassified Claims as set forth in
this Section 2, and the holders thereof are not entitled to vote on the Plan.

               Administrative Expense Claims.

                (a)     Filing Administrative Expense Claims. The holder of an Administrative
Expense Claim, other than (a) a Claim covered by Section 2.3 hereof, (b) a liability incurred and
payable in the ordinary course of business by the Debtor after the Petition Date, or (c) an
Administrative Expense Claim that has been Allowed and/or paid in full on or before the
Effective Date, must file and serve on the Debtor a request for payment of such Administrative
Expense Claim pursuant to section 503(a) of the Bankruptcy Code so that it is received no later
than the Administrative Expense Claim Bar Date. Holders required to file and serve, who fail or
file and serve, a request for payment of Administrative Expense Claims by the Administrative
Expense Claim Bar Date shall be forever barred from asserting such Administrative Expense
Claims against the Debtor and its property, and such Administrative Expense Claims shall be
deemed waived and released as of the Effective Date. Notwithstanding the foregoing, pursuant
to section 503(b)(1)(D) of the Bankruptcy Code, no governmental unit shall be required to file a
request for payment of any Administrative Expense Claim of a type described in sections
503(b)(1)(B) or 503(b)(1)(C) of the Bankruptcy Code as a condition to such Claim being
Allowed.

                (b)     Allowance of Administrative Expense Claims. An Administrative
Expense Claim, with respect to which a request for payment has been properly and timely filed
pursuant to Section 2.2(a), shall become an Allowed Administrative Expense Claim if no
objection to such request is filed with the Bankruptcy Court and served on the Debtor and the
requesting party on or before the thirtieth (30th) calendar day after the Effective Date, as the
same may be modified or extended from time to time by order of the Bankruptcy Court. If an
objection is timely filed, the Administrative Expense Claim shall become an Allowed
Administrative Expense Claim only to the extent Allowed by a Final Order or as such Claim is
settled, compromised, or otherwise resolved pursuant to Section 6.6.




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                  (c)    Payment of Allowed Administrative Expense Claims. Except to the extent
that an Administrative Expense Claim already has been paid during the Chapter 11 Case or the
holder of an Allowed Administrative Expense Claim agrees to a less favorable treatment, and
except as provided in Section 2.3, each holder of an Allowed Administrative Expense Claim
against the Debtor shall receive, in full and complete settlement, release, and discharge of such
Claim, Cash equal to the unpaid amount of such Allowed Administrative Expense Claim on the
latest of (i) the Effective Date or as soon thereafter as reasonably practicable; (ii) the first
Business Day that is at least thirty (30) calendar days after the date on which such Administrative
Expense Claim becomes Allowed; (iii) the date on which such Administrative Expense Claim
becomes due and payable in the ordinary course of the Debtor’s business in accordance with the
terms and conditions of any agreements or understandings governing, or other documents
relating to, such Allowed Administrative Expense Claim; and (iv) such other date as may be
agreed to by such holder and the Debtor; provided, however, that Allowed Administrative
Expense Claims (other than a Claim covered by Section 2.3) representing liabilities incurred in
the ordinary course of business by the Debtor, as debtor-in-possession, or liabilities arising under
loans or advances to or other obligations incurred by the Debtor, as debtor-in-possession,
whether or not incurred in the ordinary course of business, may be paid by the Debtor, as
applicable, in the ordinary course of business, consistent with past practice and in accordance
with the terms and subject to the conditions of any agreements governing, instruments
evidencing, or other documents relating to such transactions.

               Professional Fees.

                (a)    Final Fee Applications. Each Professional requesting compensation
pursuant to section 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankruptcy Code for services
rendered in connection with the Chapter 11 Case before the Effective Date shall (a) file with the
Bankruptcy Court, and serve on the Debtor, an application for allowance of final compensation
and reimbursement of expenses in the Chapter 11 Case on or before the date that is forty-five
(45) calendar days after the Effective Date, and (b) after notice and a hearing in accordance with
the procedures established by the Bankruptcy Code and the Bankruptcy Rules and any prior
orders of the Bankruptcy Court in the Chapter 11 Case, be paid by the Debtor, in Cash, in such
amounts as are Allowed by the Bankruptcy Court (i) no later than thirty (30) calendar days after
the date upon which the order relating to any such Allowed Claim is entered or (ii) upon such
other terms as may be mutually agreed upon between the holder of such an Allowed Claim and
the Debtor, or, on or after the Effective Date, the Debtor.

               (b)     Post-Effective Date Fees and Expenses. From and after the Effective
Date, the Debtor may, upon submission of appropriate documentation and in the ordinary course
of business, pay the post-Effective Date charges incurred by the Debtor for any Professional’s
fees, disbursements, expenses, or related support services without application to or approval
from the Bankruptcy Court. On the Effective Date, any requirement that Professionals comply
with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and the Debtor may employ
and pay any Professional for fees and charges incurred from and after the Effective Date in the
ordinary course of business without any notice to or approval from the Bankruptcy Court.




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               Priority Tax Claims.

       Except to the extent that the holder of an Allowed Priority Tax Claim has been paid by
the Debtor prior to the Effective Date or agrees to a less favorable treatment, each holder of an
Allowed Priority Tax Claim shall receive, in full and complete settlement, release, and discharge
of such Claim, Cash in an amount equal to the unpaid portion of such Allowed Priority Tax
Claim, on the latest of (i) the Effective Date, (ii) the date such Priority Tax Claim becomes an
Allowed Claim, or as soon thereafter as is practicable, and (iii) the date such Allowed Priority
Tax Claim becomes due and payable under applicable non-bankruptcy law.

                                    SECTION 3
                     CLASSIFICATION OF CLAIMS AND INTERESTS

               Summary of Classification.

         The following table designates the Classes of Claims against, and Interests in, the Debtor
and specifies which of those Classes are (i) Impaired or Unimpaired by the Plan, (ii) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code, and
(iii) deemed to accept or reject the Plan. A Claim or portion thereof is classified in a particular
Class only to the extent that such Claim or portion thereof qualifies within the description of
such Class and is classified in a different Class to the extent that the portion of such Claim
qualifies within the description of such different Class.

 Class   Designation                                    Treatment           Entitled to Vote
  1      Priority Non-Tax Claims                        Unimpaired      No (presumed to accept)
  2      Secured Claims                                 Unimpaired      No (presumed to accept)
  3      General Unsecured Claims                        Impaired                  Yes
  4      Asbestos Claims                                 Impaired                  Yes
  5      Interests                                       Impaired        No (presumed to reject)

               Special Provision Governing Unimpaired Claims.

       Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtor in respect of any Unimpaired Claims, including all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

                                  SECTION 4
                       TREATMENT OF CLAIMS AND INTERESTS

               Class 1—Priority Non-Tax Claims.

               (a)     Classification. Class 1 consists of all Priority Non-Tax Claims.

             (b)    Treatment. Except to the extent that the holder of an Allowed Priority
Non-Tax Claim agrees to a less favorable treatment, each holder of an Allowed Priority Non-Tax


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Claim shall receive, in full and complete settlement, release, and discharge of, and in exchange
for, such Claim, Cash in an amount equal to the Allowed amount of such Claim on the later of
(i) the Effective Date and (ii) the date on which such Claim becomes Allowed, or, in each case,
as soon as reasonably practicable thereafter.

              (c)    Impairment and Voting. Class 1 is Unimpaired. Holders of Priority Non-
Tax Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
the Bankruptcy Code and, accordingly, are not entitled to vote to accept or reject the Plan.

               Class 2—Secured Claims.

               (a)     Classification. Class 2 consists of all Secured Claims.

                (b)     Treatment. Except to the extent that the holder of an Allowed Secured
Claim agrees to a less favorable treatment, on the Effective Date or as soon thereafter as
practicable, each holder of an Allowed Secured Claim shall receive, at the option of the Debtor,
and in full and complete settlement, release, and discharge of, and in exchange for, such Claim
(i) payment in full in Cash, (ii) the collateral securing such Allowed Secured Claim, or (iii) other
treatment rendering such Claim Unimpaired.

              (c)     Impairment and Voting. Class 2 is Unimpaired. Holders of Secured
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code and, accordingly, are not entitled to vote to accept or reject the Plan.

               Class 3—General Unsecured Claims.

               (a)     Classification. Class 3 consists of all General Unsecured Claims.

                (b)     Treatment. Except to the extent previously paid during the Chapter 11
Case or the holder of an Allowed General Unsecured Claim agrees to a less favorable treatment,
each holder of an Allowed General Unsecured Claim shall receive, in full and complete
settlement, release, and discharge of, and in exchange for, such Claim, Cash in an amount equal
to its Pro Rata share of the General Unsecured Recovery Pool subject to a maximum Distribution
to each holder of an Allowed General Unsecured Claim of 100% of the Allowed amount of such
Claim. Distributions shall be made to holders of Allowed General Unsecured Claims from the
General Unsecured Recovery Pool (i) on the Effective Date or as soon as reasonably practicable
thereafter and (ii) on or before the date that is thirty (30) days after all Disputed General
Unsecured Claims are Allowed or Disallowed. Solely for purposes of calculating Distributions
to holders of Allowed General Unsecured Claims on the Effective Date, all Disputed General
Unsecured Claims will be treated as though they are Allowed in the amounts asserted or as
estimated by the Bankruptcy Court pursuant to section 502(c) of the Bankruptcy Code, and a
reserve will be set aside for such Disputed General Unsecured Claims.

                (c)     Impairment and Voting. Class 3 is Impaired. Each holder of a General
Unsecured Claim shall be entitled to vote to accept or reject the Plan. Whether the requisite
votes in favor of the Plan from holders of General Unsecured Claims have been attained shall be
determined in accordance with section 1126 of the Bankruptcy Code.



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               Class 4—Asbestos Claims.

               (a)    Classification. Class 4 consists of all Asbestos Claims.

               (b)     Treatment. On the Effective Date, all liability for Asbestos Claims shall
automatically, and without further act, deed, or court order, be assumed by and transferred to the
Liquidating Trust in accordance with, and to the extent set forth in Sections 8.1(d) and 10.2, the
Plan Documents, and the Confirmation Order. Each Asbestos Claim shall be resolved in
accordance with the terms, provisions, and procedures set forth in the Liquidating Trust
Documents. The Liquidating Trust shall be funded in accordance with Section 8.1(b). The sole
recourse of the holder of an Asbestos Claim on account of such Asbestos Claim shall be to the
Liquidating Trust.

               (c)     Impairment and Voting. Class 4 is Impaired. Each holder of an Asbestos
Claim shall be entitled to vote to accept or reject the Plan. Whether the requisite votes in favor
of the Plan from holders of Asbestos Claims have been attained shall be determined in
accordance with section 1126 of the Bankruptcy Code.

               Class 5—Interests in the Debtor.

               (a)    Classification. Class 5 consists of all Interests.

               (b)    Treatment. All Interests will remain outstanding and will be cancelled
when the existence of the Debtor is cancelled in accordance with Section 8.5. Upon such
cancellation, no property will be distributed to, or retained by, holders of such Interests.

               (c)   Impairment and Voting. Class 5 is Impaired. Holders of Interests are
conclusively presumed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
Code and, accordingly, are not entitled to vote to accept or reject the Plan.

                             SECTION 5
      DISTRIBUTIONS TO HOLDERS OF ALLOWED NON-ASBESTOS CLAIMS

               Distributions.

        Other than distributions to be made to holders of Asbestos Claims from the Liquidating
Trust, the Debtor shall make all Distributions required to be made under the Plan as provided
under this Section 5. All distributions to be made on account of Asbestos Claims shall be made
in accordance with the terms of the Liquidating Trust Documents.

               Distribution Record Date.

        Except as otherwise provided in a Final Order of the Bankruptcy Court, the transferees of
Non-Asbestos Claims that are transferred pursuant to Bankruptcy Rule 3001 prior to the
Distribution Record Date shall be treated as the holders of such Non-Asbestos Claims for all
purposes, notwithstanding that any period provided by Bankruptcy Rule 3001 for objecting to
such transfer has not expired by the Distribution Record Date. The Debtor shall have no



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obligation to recognize any transfer of any Non-Asbestos Claim occurring on or after the
Distribution Record Date.

               Date of Distributions.

        Except as otherwise provided herein, any and all Distributions and deliveries to be made
hereunder on account of Allowed Non-Asbestos Claims or Interests shall be made on the
Effective Date, as soon thereafter as is practicable, or as otherwise determined in accordance
with the Plan. In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day, but shall be deemed to have been completed as of the required date.

               Delivery of Distributions.

        Subject to Bankruptcy Rule 9010, all Distributions to any holder of an Allowed Non-
Asbestos Claim shall be made at the address of such holder as set forth on the Schedules filed
with the Bankruptcy Court or on the books and records of the Debtor or its agents, unless the
Debtor has been notified in writing of a change of address. In the event that any Distribution to
any holder is returned as undeliverable, then no further Distributions to such holder shall be
made unless and until the Debtor is notified of such holder’s then-current address, at which time
all missed Distributions shall be made to such holder without interest; provided, however, that
such Distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy
Code on the date that is six (6) months after the Effective Date. After such date, all unclaimed
property or interest in property shall be transferred and delivered to the Liquidating Trust, and
the Non-Asbestos Claim of any other holder to such property or interest in property shall be
forever barred notwithstanding any applicable federal or state escheat or abandoned or unclaimed
property laws to the contrary. Nothing in the Plan shall require the Debtor to attempt to locate
any holder of an Allowed Non-Asbestos Claim.

               Manner of Payment Under Plan.

       At the option of the Debtor, any Cash payment to be made hereunder may be made by a
check or wire transfer or as otherwise required or provided in any applicable agreement.

               Withholding of Taxes.

        In connection with this Plan, the Debtor shall comply with all applicable withholding and
reporting requirements imposed by federal, state, local, and foreign taxing authorities, and all
Distributions hereunder shall be subject to those withholding and reporting requirements.
Holders of Allowed Non-Asbestos Claims may be required to provide certain tax information as
a condition to receiving Distributions pursuant to this Plan. Notwithstanding any other provision
of this Plan, each Person receiving a Distribution will have the sole and exclusive responsibility
for the satisfaction and payment of any tax obligations imposed by any domestic, foreign,
provincial, federal, state, or municipal government, government agency, commission,
department, bureau, or other governmental entity, including income and other tax obligations, on
account of that Distribution.



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               Time Bar to Cash Payments.

        Checks issued by the Debtor in respect of Distributions on Allowed Non-Asbestos
Claims shall be null and void if not presented for payment within sixty (60) calendar days after
the date of issuance thereof. Requests for reissuance of any check shall be made in writing to the
Debtor by the holder of the Allowed Non-Asbestos Claim to whom such check originally was
issued on or before thirty (30) calendar days after the expiration of the sixty (60) calendar day
period following the date of issuance of such check. After expiration of the thirty (30) calendar
day period, all funds held on account of such void check shall, in the discretion of the Debtor, be
used to satisfy the costs of administering and fully consummating the Plan or become property of
and shall be transferred and delivered to the Liquidating Trust, and the Non-Asbestos Claim of
any holder to such Distributions shall be forever barred.

               Fractional Cents.

        Notwithstanding any other provision in the Plan to the contrary, no payment of fractional
cents will be made pursuant to the Plan. Whenever any payment of a fraction of a cent under the
Plan would otherwise be required, the actual Distribution made will reflect a rounding of such
fraction to the nearest whole penny (up or down), with fractions of more than half a penny being
rounded up and fractions of half a penny or less being rounded down.

               No Postpetition Interest on Non-Asbestos Claims.

       Unless expressly provided for in the Plan, the Plan Documents, and the Confirmation
Order, or any contract, instrument, release, settlement, or other agreement entered into in
connection with the Plan, or unless required by applicable bankruptcy law (including the fair and
equitable rule), interest and late fees shall not accrue on or after the Petition Date on account of
any Non-Asbestos Claim.

               Setoffs.

        The Debtor, pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy
Code), applicable non-bankruptcy law, or as may be agreed to by the holder of a Non-Asbestos
Claim, may, but shall not be required to, set off against any Non-Asbestos Claim (for purposes of
determining the Allowed amount of such Non-Asbestos Claim on which Distribution shall be
made), any claims of any nature whatsoever that the Debtor may have against the holder of such
Non-Asbestos Claim to the extent not otherwise compromised or settled on or prior to the
Effective Date; provided, however, that neither the failure to do so nor the allowance of any
Non-Asbestos Claim hereunder shall constitute a waiver or release by the Debtor of any such
Non-Asbestos Claim the Debtor may have against the holder of such Non-Asbestos Claim.




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                                 SECTION 6
                 PROCEDURES FOR RESOLVING DISPUTED CLAIMS

               Asbestos Claims.

        All Asbestos Claims shall be submitted to and resolved by the Liquidating Trust pursuant
to the Liquidating Trust Documents. Only the Liquidating Trust shall have the right to object to
and/or resolve disputed Asbestos Claims.

               Objections to Non-Asbestos Claims.

        The Debtor shall be entitled to object to Non-Asbestos Claims. Any objections to Non-
Asbestos Claims shall be filed and served on or before (a) the sixtieth (60th) calendar day
following the later of (i) the Effective Date and (ii) the date that a Proof of Claim is filed or
amended or a Non-Asbestos Claim is otherwise asserted or amended in writing by or on behalf
of a holder of such Non-Asbestos Claim, or (b) such later date as may be fixed by the
Bankruptcy Court.

               Estimation of Non-Asbestos Claims.

         The Debtor may at any time request that the Bankruptcy Court estimate any contingent,
unliquidated, or Disputed Non-Asbestos Claim pursuant to section 502(c) of the Bankruptcy
Code (so long as the Bankruptcy Court has not already overruled an objection to such Disputed
Non-Asbestos Claim filed by the Debtor), and the Bankruptcy Court will retain jurisdiction to
estimate any Non-Asbestos Claim at any time, including, without limitation, during the pendency
of litigation concerning any objection to any Non-Asbestos Claim or of any appeal relating
thereto. In the event that the Bankruptcy Court estimates any contingent, unliquidated, or
Disputed Non-Asbestos Claim, the amount so estimated shall constitute either the Allowed
amount of such Non-Asbestos Claim or a maximum limitation on the amount of such Non-
Asbestos Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a
maximum limitation on the amount of such Non-Asbestos Claim, the Debtor may pursue
supplementary proceedings to object to the allowance of such Non-Asbestos Claim. Non-
Asbestos Claims may be estimated and subsequently compromised, settled, withdrawn, or
otherwise resolved by any mechanism approved by the Bankruptcy Court. All of the
aforementioned objection, estimation, and resolution procedures are intended to be cumulative
and not exclusive of one another.

               No Distributions Pending Allowance.

       Notwithstanding any other provision hereof, if a Non-Asbestos Claim or any portion of a
Non-Asbestos Claim is Disputed, no payment or Distribution shall be made on account of the
Disputed portion of such Non-Asbestos Claim unless and until such Claim becomes an Allowed
Claim.

               Distributions After Allowance.

       To the extent that a Disputed Non-Asbestos Claim ultimately becomes an Allowed
Claim, Distributions (if any) shall be made to the holder of such Allowed Non-Asbestos Claim in


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accordance with the provisions of the Plan. As soon as practicable after the date that the order or
judgment of the Bankruptcy Court allowing any Disputed Non-Asbestos Claim becomes a Final
Order, the Debtor shall provide to the holder of such Non-Asbestos Claim the Distribution (if
any) to which such holder is entitled under the Plan as of the Effective Date, without any interest
to be paid on account of such Non-Asbestos Claim unless required under applicable bankruptcy
law.

               Settlement of Disputed Non-Asbestos Claims.

        Notwithstanding any requirements that may be imposed pursuant to Bankruptcy Rule
9019, after the Effective Date, the Debtor shall have the exclusive authority to settle or
compromise any Disputed Non-Asbestos Claim by written agreement with the holder of such
Claim without any further notice to or action, order, or approval by the Bankruptcy Court, and
the Claims Agent, upon direction of the Debtor, shall administer and adjust the Claims Register
to reflect any such settlements or compromises without any further notice to or action, order, or
approval of the Bankruptcy Court.

               Adjustment to Claims Register Without Objection.

       Any duplicate Claim or Interest, any Claim or Interest that has been paid or satisfied, or
any Claim that has been amended and superseded, may be adjusted or expunged on the Claims
Register by the Claims Agent, upon the direction of the Debtor, without a Claim objection
having to be filed and without any further notice to or action, order, or approval from the
Bankruptcy Court. In addition, on and after the Effective Date, any Asbestos Claim for which a
Proof of Claim was filed with the Bankruptcy Court or the Claims Agent may be removed from
the Claims Register by the Claims Agent, upon the direction of the Debtor, on the basis that it
has been assumed by the Liquidating Trust in accordance with this Plan and the Confirmation
Order, without any further notice to parties in interest or further action, order, or approval by or
from the Bankruptcy Court.

                                   SECTION 7
                       TREATMENT OF EXECUTORY CONTRACTS
                             AND UNEXPIRED LEASES

               General Treatment.

       Effective as of the Effective Date, all Executory Contracts and Unexpired Leases to
which the Debtor is a party are hereby rejected, except for any Executory Contract or Unexpired
Lease that (a) has previously been assumed or rejected pursuant to a Final Order of the
Bankruptcy Court, or (b) is the subject of a separate assumption or rejection motion filed by the
Debtor under section 365 of the Bankruptcy Code before the Confirmation Date. The
Confirmation Order shall constitute the Bankruptcy Court’s approval of the rejection of the
contracts and leases rejected hereby.

               Rejection Claims.

       In the event that the rejection of an Executory Contract or Unexpired Lease by the Debtor
pursuant to the Plan results in damages to the other party or parties to such Executory Contract or


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Unexpired Lease, a Claim for damages, if not heretofore evidenced by a timely Proof of Claim,
shall be forever barred and shall not be enforceable against the Debtor, or its properties or
interests in property, unless a Proof of Claim is filed with the Bankruptcy Court and served upon
counsel for the Debtor no later than thirty (30) calendar days after the date of entry of an order
by the Bankruptcy Court approving such rejection.

               Reservation of Rights.

        Neither the exclusion nor inclusion of any contract or lease by the Debtor on any exhibit,
schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the
Plan, will constitute an admission by the Debtor that any such contract or lease is or is not in fact
an Executory Contract or Unexpired Lease or that the Debtor have any liability
thereunder.Nothing in the Plan will waive, excuse, limit, diminish, or otherwise alter any of the
defenses, Claims, Causes of Action, or other rights of the Debtor under any executory or non-
executory contract or any unexpired or expired lease.Nothing in the Plan will increase, augment,
or add to any of the duties, obligations, responsibilities, or liabilities of the Debtor under any
executory or non-executory contract or any unexpired or expired lease.

                                   SECTION 8
                     MEANS FOR IMPLEMENTATION OF THE PLAN

               The Liquidating Trust.

                (a)     Creation of the Liquidating Trust. On the Effective Date, the Liquidating
Trust shall be created in accordance with the Plan Documents. The Liquidating Trust is intended
to constitute a “qualified settlement fund” within the meaning of section 468B of the Internal
Revenue Code and the regulations issued thereunder. The purpose of the Liquidating Trust shall
be to assume, liquidate, and resolve Asbestos Claims and to use the Liquidating Trust Assets to
pay holders of Asbestos Claims in accordance with the terms of the Liquidating Trust
Documents, the Plan, and the Confirmation Order.

                 (b)    Transfer of Liquidating Trust Assets. Effective on the Effective Date, by
virtue of confirmation of the Plan, any and all Liquidating Trust Assets shall be transferred to
and be vested in the Liquidating Trust, without further notice, deed, or order; provided, however,
that any Excess Cash shall not be transferred to the Liquidating Trust until after satisfaction of all
liabilities for which the Excess Cash was intended to satisfy; and, provided, further, that to the
extent that certain Liquidating Trust Assets, because of their nature or because they will accrue
subsequent to the Effective Date, cannot be transferred to and vested in the Liquidating Trust on
the Effective Date, such Liquidating Trust Assets shall be transferred to and be vested in the
Liquidating Trust as soon as practicable after the Effective Date.

                (c)     Vesting of Liquidating Trust Assets. Upon the transfer of the Liquidating
Trust Assets to the Liquidating Trust, all right, title, and interest in and to such Liquidating Trust
Assets, and any proceeds thereof, shall be indefeasibly and irrevocably vested in the Liquidating
Trust, free and clear of all Claims, Interests, Encumbrances, and other interests of any Entity,
without any further action of the Bankruptcy Court or any Entity, subject to other provisions of
this Plan.



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                (d)     Transfer of Asbestos Claims to the Liquidating Trust. On the Effective
Date, all Asbestos Claims shall be assumed by and transferred to the Liquidating Trust and shall
be satisfied solely by the Liquidating Trust Assets. The Liquidating Trust shall have no liability
for any Claims other than Asbestos Claims, and no Claims other than Asbestos Claims shall be
transferred to the Liquidating Trust.

              (e)    Liquidating Trust Expenses. The Liquidating Trust shall pay all
Liquidating Trust Expenses, other than Post-Confirmation Expenses, from the Liquidating Trust
Assets.

                (f)    Appointment of Liquidating Trustee. The individual who will serve as the
initial Liquidating Trustee shall be selected by the Committee, identified in the Plan Supplement,
and appointed pursuant to the Confirmation Order. All subsequent Liquidating Trustees shall be
appointed in accordance with the terms of the Liquidating Trust Agreement.

               (g)   Appointment of Delaware Trustee. The Entity that will serve as the initial
Delaware Trustee shall be selected by the Committee, will be identified in the Plan Supplement,
and appointed pursuant to the Confirmation Order. All subsequent Delaware Trustees shall be
appointed in accordance with the terms of the Liquidating Trust Agreement.

              (h)      Appointment of Liquidating Trust Advisory Committee Members. The
initial members of the Liquidating Trust Advisory Committee shall be selected by the
Committee, identified in the Plan Supplement, and appointed pursuant to the Confirmation
Order. All subsequent Liquidating Trust Advisory Committee members shall be appointed in
accordance with the terms of the Liquidating Trust Agreement.

                (i)     Indemnification. The Liquidating Trust shall, pursuant to the terms of the
Liquidating Trust Agreement, indemnify the Protected Parties for any liability or alleged liability
arising out of, or resulting from, or attributable to, an Asbestos Claim, including fines and
penalties resulting from the Liquidating Trust’s failure to comply with Section 8.2(j).
Indemnification claims arising under this Section 8.2(i) will not be subject to the Liquidating
Trust Distribution Procedures.

               (j)     Liquidating Trust Compliance with Documentation Requirements.

                The Liquidating Trust Distribution Procedures shall specifically provide for a
form of release (“Claimant Release,” attached as Schedule 1 to the Liquidating Trust Distribution
Procedures, to be executed in favor of Settling Asbestos Insurance Entities, by each holder of an
Asbestos Claim as a condition of, and prior to, payment to such holder. As a condition to
making any payment to a holder of an Asbestos Claim, the Liquidating Trust shall obtain a
release of all such holder’s Claims against (i) the Debtor, (ii) the Liquidating Trust, and (iii) each
Protected Party, that relate in any way to the Debtor or the Asbestos Insurance Policies addressed
under the Approved Insurance Settlement Agreements, as well as certification of compliance
with certain Medicare/Medicaid obligations. The Liquidating Trust will promptly provide copies
of the executed Claimant Releases to a Settling Asbestos Insurance Entity upon request by the
Settling Asbestos Insurance Entity, and the requesting Settling Asbestos Insurance Entity shall
keep the Claimant Releases and all information contained therein confidential and use such



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information for no purpose other than meeting obligations under MMSEA (as defined below) or
to defend against a released Claim and to assert rights set forth in the Claimant Release.

                With respect to any payment made for an Asbestos Claim, the Liquidating Trust
Agreement shall provide that the Liquidating Trust will perform any actions and make any
filings that may be required by the Debtor for timely compliance with all requirements of the
Medicare Secondary Payer Act, 42 U.S.C. § 1395y et seq., or any other similar statute or
regulation, any related rules, regulations, or guidance issued in connection therewith or
amendments thereto (“MSP”), including Section 111 of the Medicare, Medicaid, and SCHIP
Extension Act of 2007 (P.L. 110-173), or another similar statute or regulation and any related
rules, regulations, or guidance issued or amendments or amendatory statutes passed in
connection therewith (“MMSEA”). Such performance by the Liquidating Trust shall continue
regardless of dissolution or other termination of the existence of the Debtor.

               The Liquidating Trust’s obligations to each Settling Asbestos Insurance Entity
with respect to the statutes referenced in the foregoing paragraph, including as to reporting,
indemnity, provision of documents and information, and certification by holders of Asbestos
Claims as to payment resolution of obligations under such statutes, will be set forth in the
Liquidating Trust Agreement and the Liquidating Trust Distribution Procedures.

               The Liquidating Trust Agreement may provide for retention of a qualified third-
party service provider to perform any actions required for timely compliance with MSP and/or
MMSEA.

                (k)     Institution and Maintenance of Legal and Other Proceedings.As of the
Effective Date, the Liquidating Trust shall be empowered to initiate, prosecute, defend, settle,
and resolve all legal actions and other proceedings related to any asset (including the Liquidating
Trust Assets), liability, or responsibility of the Liquidating Trust. The Liquidating Trust shall be
responsible for payment of all damages, awards, judgments, settlements, expenses, costs, fees,
and other charges incurred subsequent to the Effective Date arising from or associated with any
legal action or other proceeding that is the subject of this Section 8.1(k). To facilitate the powers
granted to the Liquidating Trust herein, the Liquidating Trust may initiate legal actions in the
name of “ON Marine Services Company LLC.” Notwithstanding anything to the contrary in this
Section 8.1(k), nothing in this Section creates, modifies, or eliminates any right, duty, or
obligation addressed, resolved, or released pursuant to this Plan.

                (l)     Excess Liquidating Trust Assets. After the payment in full of all Allowed
Asbestos Claims and Liquidating Trust Expenses, any monies remaining in the Liquidating Trust
shall be transferred to one or more charities qualified under section 501(c)(3) of the Internal
Revenue Code, which are to be determined by the Liquidating Trustee using his or her
reasonable discretion; provided, however, that if practicable, the tax-exempt organization(s) shall
be related to the treatment of, research on, or the relief of suffering of individuals with asbestos-
related disorders.

               Sources of Consideration for Distributions.

       The Debtor shall fund Distributions with Cash on hand.



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               Amended Articles of Incorporation.

        The articles of incorporation of the Debtor shall be amended and restated as of the
Effective Date in substantially the form attached to the Plan Supplement to, among other things,
(a) prohibit the issuance of nonvoting equity securities as required by section 1123(a)(6) of the
Bankruptcy Code and (b) otherwise effectuate the provisions of the Plan, subject to further
amendment of such amended and restated articles of incorporation after the Effective Date as
permitted by applicable law.

               Corporate Action.

        On the Effective Date, all actions contemplated by the Plan or that are necessary to
implement the provisions of the Plan shall be deemed authorized, approved, and, to the extent
taken prior to the Effective Date, ratified in all respects without the need for any further
corporate action, including, to the extent applicable, (a) the creation of the Liquidating Trust,
(b) the rejection of Executory Contracts and Unexpired Leases, (c) the cancellation of the
Debtor’s corporate existence, and (d) all other acts or actions contemplated or reasonably
necessary or appropriate to consummate the Plan (whether to occur before, on, or after the
Effective Date).

               Cancellation of Corporate Existence.

        As soon as reasonably practicable following the Effective Date, the satisfaction of all
Allowed Non-Asbestos Claims, and the transfer of all Liquidating Trust Assets to the
Liquidating Trust, in each case pursuant to the terms of the Plan, the Debtor shall dissolve and
file any and all documents and take any and all other actions that may be necessary and
appropriate to cancel the Debtor’s corporate existence.

               Authority of Liquidating Trust to Petition for Final Decree.

        If the Debtor’s corporate existence is cancelled prior to filing a motion for the Final
Decree, the Liquidating Trust shall have authority to petition for the Final Decree and to take all
actions that are necessary and appropriate to secure entry of the Final Decree and close this
Chapter 11 Case.
                                       SECTION 9
                                EFFECT OF CONFIRMATION

               Vesting of Assets.

        On the Effective Date, pursuant to sections 1141(b) of the Bankruptcy Code, all property
of the Estate (except the Liquidating Trust Assets, which are being transferred to the Liquidating
Trust and shall vest therein) shall vest in the Debtor, except as provided in the Plan, the Plan
Documents, or the Confirmation Order.




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               Binding Effect.

        Subject to the occurrence of the Effective Date, on and after the Confirmation Date, the
provisions of the Plan shall bind any holder of a Claim against, or Interest in, the Debtor, and
such holder’s respective successors and assigns, whether or not the Claim or Interest of such
holder is Impaired under the Plan and whether or not such holder has accepted the Plan.

               Retention of Causes of Action/Reservation of Rights.

         Except as otherwise provided in the Plan, pursuant to section 1123(b) of the Bankruptcy
Code, the Debtor shall retain and may enforce, sue on, settle, compromise, otherwise resolve,
discontinue, abandon, or dismiss, or decline to do any of the foregoing with regard to, any and all
Claims, rights, Causes of Action, suits, and proceedings, whether in law or in equity, whether
known or unknown, accruing to or that are property of the Debtor or its Estate against any Entity
without the approval of the Bankruptcy Court, including (i) any and all Claims against any
Entity, to the extent such Entity asserts a cross-claim, counterclaim, and/or Claim for setoff
which seeks affirmative relief against the Debtor or its Representatives; (ii) all defenses and
counterclaims to all Claims asserted against the Debtor or the Estate, including, without
limitation, setoff, recoupment, and any rights under section 502(d) of the Bankruptcy Code; and
(iii) turnover of any property of the Estate. The Debtor or its successor(s) may pursue such
retained Claims, rights, Causes of Action, suits, and proceedings, as appropriate, in accordance
with the best interests of the Debtor or its successor(s) that hold such rights.

               Dissolution of the Committee.

        On the Effective Date, the Committee shall be dissolved automatically, whereupon its
members, Professionals, and agents shall be released and discharged of and from any further
duties and responsibilities in the Chapter 11 Case and under the Bankruptcy Code, except that
the Committee may continue to appear and be heard as a party in interest with respect to
applications for compensation or expense reimbursements of Professionals, any motions or other
actions seeking enforcement or implementation of the provisions of the Plan or the Confirmation
Order, or pending appeals of any other order entered in the Chapter 11 Case.

        In addition, effective as of the Effective Date, the Liquidating Trust Advisory Committee
shall succeed to, and exclusively hold, the attorney-client privilege and other privileges held by
the Committee and shall enjoy the work product protections that were applicable or available to
the Committee before its dissolution.

                                  SECTION 10
                   EXCULPATIONS, INJUNCTIONS, AND RELEASES

               Exculpation.

        None of the Exculpated Parties shall have or incur any liability to any holder of a
Claim against the Debtor (including any Asbestos Claim), or to any current or former holder
of an Interest, for any act or omission occurring on or after the Petition Date that is based on,
arises from, or is attributable to (a) the Chapter 11 Case, (b) the Plan, (c) the negotiation,
formulation, or preparation of the Plan, (d) any of the terms of or the settlements or


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compromises reflected in the Plan Documents or approved as part of this Chapter 11 Case,
including, but not limited to, the Approved Insurance Settlement Agreements, (e) the pursuit
of confirmation of the Plan, or (f) consummation of the Plan or administration of the Plan or
the property to be distributed under the Plan or the Liquidating Trust Distribution Procedures,
so long as, in each case, such act or omission did not constitute willful misconduct or gross
negligence as determined by a Final Order. In all respects, the Exculpated Parties shall be
entitled to rely on the advice of counsel and financial and other experts or professionals
employed by them with respect to their duties and responsibilities in the Chapter 11 Case, and
such reliance shall conclusively establish the absence of willful misconduct and gross
negligence. In addition, any act or omission taken with the approval of the Bankruptcy Court
shall be conclusively deemed not to constitute willful misconduct or gross negligence.

               Insurance Policy Injunction.

        In accordance with sections 105(a) and 363(f) of the Bankruptcy Code, and to give
further effect to the Approved Insurance Settlement Agreements, the Confirmation Order
shall provide the following Insurance Policy Injunction to take effect on the occurrence of the
Effective Date: all Persons who hold or assert, or may in the future hold or assert, any Claim
against the Debtor arising out of or in connection with the activities covered by the Settled
Asbestos Insurance Policies, or in connection with the Debtor’s activities giving rise to Claims
made or to be made under the Settled Asbestos Insurance Policies, or any other Person who
may claim to be an insured, additional insured, or otherwise entitled to any benefit under the
Settled Asbestos Insurance Policies, shall be and hereby are permanently stayed, restrained,
and enjoined from asserting any claim or right to entitlement, or taking any other action
against the Protected Parties, for the purpose of obtaining any recovery or other relief from
the Protected Parties or under or in connection with the Settled Asbestos Insurance Policies.

               Release of Directors, Officers, and Shareholders.

        The acceptance of any Distribution by a holder of a Claim, and, with respect to Asbestos
Claims, the acceptance of payment from the Liquidating Trust by a holder of an Asbestos Claim,
shall constitute a waiver and release of any and all causes of action that such holder did
commence or could have commenced against any current or former officer, director, or
Shareholder of the Debtor, that is based upon, is attributable to, or arises from any acts or
omissions of such officer, director, or Shareholder (while serving in such capacity) that occurred
prior to the Effective Date, to the fullest extent permitted under applicable law (as now in effect
or subsequently extended), except for willful misconduct or gross negligence as determined by a
Final Order.

               Release of Avoidance Actions.

        Effective on the occurrence of the Effective Date, the Debtor hereby fully, finally, and
forever releases, relinquishes, and discharges each and every Avoidance Action and other Claim
and Cause of action that it holds against any other Entity solely as a result of its status as a
debtor-in-possession; provided, however, that nothing herein shall be deemed to release rights
against an Asbestos Insurance Company, the Asbestos Insurance Rights, or rights against third
parties that have arisen in the ordinary course of business.


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               Terms of Injunction and Automatic Stay.

        All of the injunctions and/or stays arising under or entered during the Chapter 11 Case
under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the Insurance Policy Injunction set
forth in Section 10.2 becomes effective, and shall continue to remain in full force and effect
thereafter as and to the extent provided by the Plan, the Confirmation Order, or by their own
terms. The Insurance Policy Injunction shall become effective on the Effective Date and shall
continue in effect at all times thereafter unless otherwise provided by the Plan or the
Confirmation Order. All actions of the type or nature of those to be enjoined by the Insurance
Policy Injunction shall be enjoined during the period between the Confirmation Date and the
Effective Date. Additionally, on and after the Confirmation Date, the Debtor may seek such
further orders as it may deem necessary or appropriate to preserve the status quo during the time
between the Confirmation Date and the Effective Date.

               No Discharge.

       For the avoidance of doubt, the Plan does not result in the Debtor receiving a discharge
pursuant to section 1141(d)(3) of the Bankruptcy Code.

                                  SECTION 11
                    CONDITIONS PRECEDENT TO CONFIRMATION
                       AND CONSUMMATION OF THE PLAN

               Conditions to the Confirmation Date.

       The Confirmation Date shall not occur unless and until each of the following conditions
has been satisfied or duly waived pursuant to Section 11.3:

                (a)     at least two-thirds (2/3) in amount and fifty percent (50%) in number of
the holders of General Unsecured Claims or the holders of Asbestos Claims actually voting on
the Plan have voted to accept the Plan, and, with respect to any non-accepting Class, the Court
has determined that the requirements of section 1129(b)(1) of the Bankruptcy Code have been
satisfied with respect to such Class;

               (b)      the Confirmation Order has been entered by the Bankruptcy Court and
shall be acceptable in form and substance to the Debtor;

               (c)    the Confirmation Order shall contain the following findings of fact and
conclusions of law, among others:

                      1.      the Plan complies with all applicable provisions of the Bankruptcy
               Code, including, without limitation, those requiring that the Plan was proposed in
               good faith and that the Confirmation Order was not procured by fraud;

                     2.      the Plan separately classifies General Unsecured Claims in Class 3
               and Asbestos Claims in Class 4, and at least two-thirds (2/3) in amount and fifty



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           percent (50%) of the members in at least one of such Classes that voted on the
           Plan have voted to accept the Plan;

                    3.      the Liquidating Trust to be established pursuant to the Plan is a
           valid legal Entity separate and distinct from the Debtor, and each of the Debtor
           and the Liquidating Trust are not and may not in the future be held liable for any
           liability of the other entities based upon any legal or equitable theory, including
           those consisting of or relating to veil piercing, alter ego, successor liability,
           fraudulent transfer, or conspiracy, including but not limited to fraudulent transfer
           or fraudulent conveyance claims under applicable state or federal law;

                     4.      the Liquidating Trust is to be funded by the Liquidating Trust
           Assets;

                   5.     the assignment by the Debtor to the Liquidating Trust of the
           Asbestos Insurance Rights is valid and binding in accordance with the provisions
           of section 1123(a)(5) of the Bankruptcy Code;

                   6.      the Liquidating Trust will have the sole and exclusive authority as
           of the Effective Date to resolve all Asbestos Claims;

                  7.      the Liquidating Trust is to use its assets and income to pay
           Asbestos Claims that are eligible for payment under the Liquidating Trust
           Distribution Procedures and Liquidating Trust Expenses;

                  8.      the terms of the Insurance Policy Injunction, including any
           provisions barring actions against third parties, are set forth in the Plan and the
           Disclosure Statement;

                     9.      the Insurance Policy Injunction is essential to the Plan;

                  10.     the Insurance Policy Injunction is to be implemented in accordance
           with the Plan;

                   11.     in light of the benefits provided, or to be provided, to the
           Liquidating Trust by or on behalf of each Protected Party, the Insurance Policy
           Injunction is fair and equitable to all creditors and holders of Asbestos Claims;

                  12.     the rights, duties, obligations, and liabilities of any Non-Settling
           Insurance Company under an Asbestos Insurance Policy are not enlarged,
           diminished, reduced, or eliminated by any aspect of this Chapter 11 Case, except
           as may be limited by the Insurance Policy Injunction, the Confirmation Order, and
           any Final Order approving an Insurance Settlement Agreement;

                   13.    each Protected Party is entitled to the protection of the Insurance
           Policy Injunction;




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                   14.     the exculpation provided in Section 10.1, and the release provided
           in Section 10.3, are in each case essential to the settlement of Asbestos Claims as
           reflected in the Plan; and

                   15.   the Plan and its acceptance otherwise comply with section 1126 of
           the Bankruptcy Code, and confirmation of the Plan is in the best interests of all
           creditors.

           (d)      The Confirmation Order shall, among other things:

                    1.      provide for the Insurance Policy Injunction;

                   2.      provide that the Liquidating Trust Assets shall be contributed or
           transferred to the Liquidating Trust;

                  3.       provide that all transfers of assets of the Debtor contemplated
           under the Plan shall be free and clear of all Claims and Encumbrances against or
           on such assets;

                  4.      authorize the implementation of the Plan in accordance with its
           terms and provide that, on the Effective Date, all of the transactions listed in
           Section 8.1 shall occur as set forth therein;

                   5.      provide that any transfers effected or entered into, or to be effected
           or entered into, under the Plan shall be and are exempt under section 1146(a) of
           the Bankruptcy Code from any state, city or other municipality transfer taxes,
           mortgage recording taxes, and any other stamp or similar tax;

                   6.     approve in all respects the other settlements, transactions, and
           agreements to be effected pursuant to the Plan, including, without limitation, the
           Liquidating Trust Agreement, the Liquidating Trust Distribution Procedures, and
           the other Liquidating Trust Documents;

                  7.      provide that all Executory Contracts and Unexpired Leases not
           previously assumed or subject to a pending motion to assume have been rejected
           pursuant to section 365 of the Bankruptcy Code;

                 8.         ratify all releases provided in each Approved Insurance Settlement
           Agreement;

                  9.      incorporate by reference all previously issued orders approving an
           Insurance Settlement Agreement and provide that nothing in the Plan or the
           Confirmation Order is intended to modify or limit such orders;

                   10.    provide that the Debtor is authorized and directed to file any and
           all documents, and to take any other actions that may be necessary and
           appropriate to cancel its corporate existence within thirty (30) days after it has
           paid or otherwise satisfied all Non-Asbestos Claims and completed its transfer of


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               all Liquidating Trust Assets to the Litigating Trust, each in accordance with the
               Plan; and

                       11.      provide that, if the Debtor’s corporate existence has been cancelled
               prior to filing a motion for Final Decree, the Liquidating Trust is authorized to
               move for the Final Decree and to take all actions that are necessary and
               appropriate to secure entry of the Final Decree and close this Chapter 11 Case.

               Conditions to the Effective Date.

        The Effective Date shall not occur and the Plan shall not be consummated unless and
until each of the following conditions has been satisfied or duly waived pursuant to Section 11.3:

              (a)     the Confirmation Order, containing the Insurance Policy Injunction, shall
have been entered by the Bankruptcy Court and become a Final Order;

               (b)    the Debtor shall have obtained a legal opinion satisfactory in form and
substance to the Debtor that the Internal Revenue Service will recognize the Liquidating Trust as
a “designated settlement fund” or a “qualified settlement fund” under section 468B of the
Internal Revenue Code and any related regulations;

              (c)     the Liquidating Trust Agreement shall have been executed, and the
Liquidating Trust shall have been established; and

               (d)     the Liquidating Trust shall have been funded in accordance with Section
8.1(b).

               Waiver of Conditions Precedent.

        To the fullest extent permitted by law, but subject to any Approved Insurance Settlement
Agreement, the conditions to the Confirmation Date set forth in Section 11.1 and the conditions
to the Effective Date set forth in Section 11.2 may be waived or modified in whole or in part at
any time in writing by the Debtor, without leave from or an order of the Bankruptcy Court.

               Effect of Non-Occurrence of Effective Date.

        If each of the conditions to the Effective Date is not satisfied in accordance with Section
11.2 or duly waived in accordance with Section 11.3, then upon notification to the Bankruptcy
Court by the Debtor, after consultation with the Committee, and upon notice to such parties in
interest as the Bankruptcy Court may direct, the Confirmation Order shall be vacated by the
Bankruptcy Court. If the Confirmation Order is vacated pursuant to this Section 11.4, (a) the
Plan shall be null and void in all respects; (b) the Debtor and all parties in interest shall be
restored to the status quo ante as of the day immediately preceding the Confirmation Date as
though the Confirmation Date never occurred; and (c) nothing contained in the Plan shall (i)
constitute a waiver or release of any Claims by or against, or any Interest in, the Debtors or (ii)
prejudice in any manner the rights, including any claims or defenses, of any party in interest.




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                                     SECTION 12
                              RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall retain jurisdiction over all matters arising in, arising under, or
related to the Chapter 11 Case including, among other things, jurisdiction to:

                (a)      allow, disallow, determine, liquidate, classify, reclassify, estimate, or
establish the priority, secured, or unsecured status (or proper Plan classification) of any Non-
Asbestos Claim or Interest, including the resolution of any request for payment of any
Administrative Expense Claim and the resolution of any objections to the allowance, priority, or
classification of Non-Asbestos Claims or Interests;

                (b)    hear and determine any motion, adversary proceeding, application,
contested matter, and other litigation matter pending on or commenced after the Confirmation
Date or that, pursuant to the Plan, may be instituted by the Liquidating Trust after the
Confirmation Date, including any proceedings with respect to any Avoidance Actions (except to
the extent that any such Avoidance Actions have been waived or released under the Plan or the
Confirmation Order) or otherwise to recover all assets of the Debtor and property of the Estate,
wherever located;

               (c)    enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all contracts, instruments, releases, and other
agreements or documents, including the Liquidating Trust Agreement, entered into or delivered
in connection with the Plan or the Confirmation Order, including compelling the conveyance of
property and other performance contemplated under the Plan and documents executed in
connection herewith;

               (d)     resolve any cases, controversies, suits, or disputes that may arise in
connection with the consummation, interpretation, or enforcement of the Plan or any contract,
instrument, release, or other agreement or document that is entered into or delivered pursuant to
the Plan, including the Liquidating Trust Agreement, or any Entity’s rights arising from or
obligations incurred in connection with the Plan or such documents;

                (e)    resolve any matters related to the assumption, assumption and assignment,
or rejection of any Executory Contract or Unexpired Lease to which the Debtor is a party or with
respect to which the Debtor may be liable and to hear, determine, and, if necessary, liquidate any
Claims arising therefrom;

              (f)     hear and determine all applications under sections 330, 331, and 503(b) of
the Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses incurred before the Effective Date;

               (g)     hear and determine any proposed compromise and settlement of any Claim
against or cause of action by or against the Debtor that has been or properly should have been
brought in the Bankruptcy Court;




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               (h)    hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

               (i)    hear and determine any proceeding that involves the validity, application,
construction, enforceability, or modification of the Insurance Policy Injunction;

               (j)    enter such orders as are necessary to implement and enforce the Insurance
Policy Injunction;

               (k)     hear and determine any conflict or other issues that may arise in the
administration of the Liquidating Trust and all objections to the termination of the Liquidating
Trust;

               (l)    hear and determine such other matters as may be set forth in or arise in
connection with or relate to the Plan, the Confirmation Order, other orders of the Bankruptcy
Court, the Liquidating Trust Agreement, or any other contract, instrument, release, or other
agreement or document entered into or delivered in connection with the Plan or the Confirmation
Order, as may be authorized under the provisions of the Bankruptcy Code or any other applicable
law;

               (m)    hear and determine motions to approve an Insurance Settlement
Agreement;

               (n)     hear and determine any application to modify the Plan in accordance with
section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in the Plan or any order of the Bankruptcy Court, including the Confirmation
Order, in such a manner as may be necessary to carry out the purposes and effects thereof;

               (o)      issue injunctions, enforce the injunctions contained in the Plan and the
Confirmation Order, and implement other orders or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with consummation, implementation, or
enforcement of the Plan, the Confirmation Order, or any other order of the Bankruptcy Court;

               (p)     enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked, or
vacated or Distributions pursuant to the Plan are enjoined or stayed;

              (q)   ensure that Distributions to holders of Allowed Non-Asbestos Claims are
accomplished pursuant to the provisions of the Plan;

               (r)    adjudicate any and all disputes arising from or relating to Distributions
under the Plan;

               (s)    enforce remedies upon any default under the Plan;

              (t)    hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code; and


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               (u)    enter a Final Decree closing the Chapter 11 Case.

                                     SECTION 13
                              MISCELLANEOUS PROVISIONS

               Modification of Plan.

        The Debtor may alter, amend, or modify this Plan, or any other Plan Document, under
section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation Date so long as
this Plan, as modified, meets the requirements of sections 1122 and 1123 of the Bankruptcy
Code or the Court has approved such modification. After the Confirmation Date, the Debtor
may alter, amend, or modify this Plan in accordance with section 1127(b) of the Bankruptcy
Code but only before its substantial consummation.

     On and after the Effective Date, the authority to amend, modify, or supplement the Plan
Documents, other than the Plan, will be as provided in such Plan Documents.

               Revocation or Withdrawal of the Plan.

        The Debtor reserves the right to revoke or withdraw the Plan at any time prior to entry of
the Confirmation Order. If the Debtor revokes or withdraws the Plan, or if confirmation of the
Plan does not occur, then the Plan shall be null and void in all respects; any settlement or
compromise embodied in the Plan, including the fixing or limiting to an amount any Claim or
Interest or Class of Claims or Interests, any assumption or rejection of an Executory Contract or
Unexpired Lease effected by the Plan, and any document or agreement executed pursuant to the
Plan, shall be deemed null and void; and nothing contained in the Plan, and no acts taken in
preparation for consummation of the Plan, shall: (a) constitute or be deemed to constitute a
waiver or release of any Claims by or against, or any Interests in, the Debtor or any other Entity;
(b) prejudice in any manner the rights of the Debtor or any Entity in any further proceedings
involving the Debtor; or (c) constitute an admission of any sort by the Debtor or any other Entity.

               Compromise of Controversies.

        From and after the Effective Date, the Debtor shall be authorized to compromise
controversies not involving the Liquidating Trust or Asbestos Claims in its sole discretion on
such terms as the Debtor may determine to be appropriate.

               Payment of Statutory Fees.

        All fees payable under section 1930 of chapter 123 of title 28 of the United States Code
shall be paid on the Effective Date, or as soon as practicable thereafter, by the Debtor.
Following the Effective Date, the Liquidating Trust shall be responsible for quarterly fees owed
to the U.S. Trustee in connection with this Chapter 11 Case. Quarterly fees owed to the Office
of the U.S. Trustee following the Effective Date shall be paid by the Liquidating Trust when due
in accordance with applicable law, and the Liquidating Trust shall continue to file reports to
show the calculation of such fees for the Estate until the Chapter 11 Case is closed under section
350 of the Bankruptcy Code.



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               Prepayment.

        Except as otherwise provided in the Plan, the Plan Supplement, or the Confirmation
Order, the Debtor shall have the right to prepay, without penalty, all or any portion of an
Allowed Claim at any time; provided, however, that any such prepayment shall not violate or
otherwise prejudice the relative priorities and parities among the Classes of Claims.

               Exemption from Transfer Taxes.

        Pursuant to section 1146(a) of the Bankruptcy Code, the issuance, transfer, or exchange
of notes or equity securities under the Plan, the creation of any mortgage, deed of trust, or other
security interest, the making or assignment of any lease or sublease, or the making or delivery of
any deed or other instrument of transfer under, in furtherance of, or in connection with the Plan
shall be exempt from all taxes as provided in such section 1146(a) of the Bankruptcy Code.

               Effective Date Actions Simultaneous.

        Unless the Plan or the Confirmation Order provides otherwise, actions required to be
taken on the Effective Date shall take place and be deemed to have occurred simultaneously, and
no such action shall be deemed to have occurred prior to the taking of any other such action.
Actions required to be taken after the Effective Date or as soon as thereafter as is reasonably
practicable shall be deemed to have been taken on the Effective Date.

               Substantial Consummation.

       On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

               Request for Expedited Determination of Taxes.

       The Debtor shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Petition Date through the Effective Date.

               Reservation of Rights.

        If the Plan is not confirmed by a Final Order, or if the Plan is confirmed and does not
become effective, the rights of all parties in interest in the Chapter 11 Case are and shall be
reserved in full. Any concessions or settlements reflected herein, if any, are made for purposes
of the Plan only, and if the Plan does not become effective, no party in interest in the Chapter 11
Case shall be bound or deemed prejudiced by any such concession or settlement. Moreover, if
the Plan does not become effective, no party in interest in the Chapter 11 Case shall be bound or
prejudiced by any representation, written or oral, made by any party in connection with the Plan
or the negotiation or prosecution of the Plan, including, without limitation, the representations
made in the Plan, the Disclosure Statement, or the Confirmation Order.




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               Governing Law.

        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement provides otherwise, the rights,
duties, and obligations arising under the Plan shall be governed by, and construed and enforced
in accordance with, the laws of the Commonwealth of Pennsylvania, without giving effect to the
principles of conflict of laws thereof.

               Computation of Time.

      In computing any period of time prescribed or allowed by the Plan, the provisions of
Bankruptcy Rule 9006(a) shall apply.

               Successors and Assigns.

       The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, estate,
successor, or permitted assign, if any, of each Entity.

               Exhibits/Schedules.

        All exhibits and schedules to the Plan, the Plan Supplement, and the exhibits and
schedules to the Plan Supplement are incorporated into and are a part of the Plan as if set forth in
full herein.

               Entire Agreement.

       On the Effective Date, the Plan and the Confirmation Order shall supersede all previous
and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

               Severability.

        If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void,
or unenforceable, the Bankruptcy Court, at the request of the Debtor, shall have the power to
alter and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation.

               Inconsistencies.

       To the extent of any inconsistencies between the information contained in the Disclosure
Statement and the terms and provisions of the Plan, the terms and provisions of the Plan shall
govern. To the extent of any inconsistencies between the terms and provisions of the Plan and



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the factual findings and conclusions of law in the Confirmation Order, the factual findings and
conclusions of law contained in the Confirmation Order shall govern.

               Notices.

        All notices, requests, and demands to or upon the Debtor or the Committee, to be
effective shall be in writing and, unless otherwise expressly provided herein, shall be deemed to
have been duly given or made when actually delivered, and addressed as follows:

               (a)     if to the Debtor:

                       ON Marine Services Company LLC
                       Attn: Kevin J. Whyte
                       11 Stanwix Street, 21st Floor
                       Pittsburgh, PA 15044

                       with a copy to:

                       Reed Smith LLP
                       Attn: Andrew J. Muha, Esq.
                       225 Fifth Avenue, Suite 1200
                       Pittsburgh, PA 15222

               (b)     if to the Committee:

                       [•]

               Further Assurances.

        The Debtor, the Asbestos Protected Parties, the Liquidating Trust, all Entities receiving
Distributions under this Plan, and all other parties in interest shall, and shall be authorized to,
from time to time, prepare, execute, and deliver any agreements or documents and take any other
action consistent with the terms of this Plan as may be necessary to effectuate the provisions and
intent of this Plan, with each such Entity to bear its own costs incurred after the Effective Date in
connection therewith.

               Further Authorizations.

        Prior to the Effective Date, the Debtor may seek such orders, judgments, injunctions, and
rulings that it deems necessary to carry out further the intentions and purposes of, and to give full
effect to the provisions of, this Plan or any of the Plan Documents, and any costs incurred in
connection therewith shall be borne by the Estate. On and after the Effective Date, the Debtor
and the Liquidating Trust may seek such orders, judgments, injunctions, and rulings that any of
them deem necessary to carry out further the intentions and purposes of, and to give full effect to
the provisions of, this Plan or any of the Plan Documents, with each such Entity to bear its own
costs in connection therewith.




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Dated: January 2, 2020                     Respectfully submitted,

                                           ON MARINE SERVICES COMPANY LLC

                                           /s/ Kevin J. Whyte
                                           Kevin J. Whyte
                                           Senior Vice President Legal and Secretary




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